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AO245B [Rev. 12/03] Judgment in a Criminal Case
        Sheet 1

                                                                                                       Judgment-Page 1 of 5



                                            United States District Court
                                                  Eastern District of Michigan
                    United States of America                        JUDGMENT IN A CRIMINAL CASE
                               V.
                       GUI LIANG LIN                                Case Number: 05CR80869-18
                                                                    USM Number: 64004-053

                                                                    Paul D. Muller
                                                                    Defendant's Attorney


THE DEFENDANT:
    Pleaded guilty to count(s) 1.
The defendant is adjudicated guilty of these offenses:
Title & Section        Nature of Offense                                                   Offense Ended       Count
18 USC 371, 8 USC 1324 Alien Smuggling Conspiracy                                          9/05                1

  The defendant is sentenced as provided in pages 2 through 5 of this judgment. This sentence is imposed pursuant to the
Sentencing Reform Act of 1984

   It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances.

                                                                    12/7/06
                                                                    Date of Imposition of Judgment




                                                                  s/Paul D Borman
                                                                 _________________________________________
                                                                  United States Judge



                                                                    12/11/06
                                                                    Date Signed
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AO245B [Rev. 12/03] Judgment in a Criminal Case
        Sheet 2 - Imprisonment

                                                                                                   Judgment-Page 2 of 5
DEFENDANT: GUI LIANG LIN
CASE NUMBER: 05CR80869-18

                                                   IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of: 24
months

The defendant is remanded to the custody of the United States Marshal.




                                                   RETURN
I have executed this judgment as follows:




Defendant delivered on _______________________________ to _______________________________________ a
__________________________________________, with a certified copy of this judgment.



                                                            _________________________________________
                                                             United States Marshal


                                                            _________________________________________
                                                             Deputy United States Marshal
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AO245B [Rev. 12/03] Judgment in a Criminal Case
        Sheet 3- Supervised Release

                                                                                                       Judgment-Page 3 of 5
DEFENDANT: GUI LIANG LIN
CASE NUMBER: 05CR80869-18
                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of: 24 months, non-reporting
   The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.
   The defendant shall not commit another federal, state or local crime.
   If the defendant is convicted of a felony offense, DNA collection is required by Public Law 108-405.
   The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a
controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two
periodic drug tests thereafter, as determined by the court. Revocation of supervised release is mandatory for possession of a
controlled substance.
    The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
  future substance abuse.
       If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance
  with the Schedule of Payments sheet of this judgment.
       The defendant must comply with the standard conditions that have been adopted by this court as well as with any
  additional conditions on the attached page.
                                                  STANDARD CONDITIONS OF SUPERVISION
  1) the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2) the defendant shall report ot the probation officer and shall submit a truthful and complete written report within the first
  five days of each month;
  3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
  officer;
  4) the defendant shall support his or her dependents and meet other family responsibilities;
  5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training,
  or other acceptable reasons;
  6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
  controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
  convicted of a felony, unless granted permission to do so by the probation officer;
  10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
  confiscation of any contraband observed in plain view of the probation officer;
  11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
  enforcement officer;
  12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
  without the permission of the court;
  13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
  defendant's criminal record or personal history or characteristics and shall permit the probation officer to make such
  notifications and to confirm the defendant's compliance with such notification requirement; and
  14) the defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. Revocation of
  supervised release is mandatory for possession of a firearm.
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        Sheet 3C - Supervised Release

                                                                                             Judgment-Page 4 of 5
DEFENDANT: GUI LIANG LIN
CASE NUMBER: 05CR80869-18

                                           SPECIAL CONDITIONS OF SUPERVISION

  Defendant shall not re-enter the United States without permision from the proper authorities.
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        Sheet 5 - Criminal Monetary Penalties

                                                                                                            Judgment-Page 5 of 5
DEFENDANT: GUI LIANG LIN
CASE NUMBER: 05CR80869-18

                                                  CRIMINAL MONETARY PENALTIES
                             Assessment                      Fine                                 Restitution
TOTALS:                      $ 100.00                        $ 0.00                               $ 0.00

If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
victims must be paid before the United States is paid.

Name of Payee                                                         Total Loss*              Restitution Priority or
                                                                                                 Ordered Percentage
    TOTALS:                                                  $ 0.00                  $ 0.00




* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
